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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



 JULIE PEFFER and JESSE PEFFER,

        Plaintiffs,

 v.                                                                Case No. 1:17-CV-578

 TYLER THOMPSON, DAN KING, and                                     HON. GORDON J. QUIST
 RICH KOPACH,

        Defendants.
                                           /


                                           OPINION

       Defendants, Michigan State Police Officer Dan King, former county prosecutor Tyler

Thompson, and Deputy Sheriff Rich Kopach have filed motions to dismiss a complaint filed

against them pursuant to 42 U.S.C. § 1983 by Plaintiffs Julie and Jesse Peffer. Apparently, the

Peffers were engaging in some sort of business which, they claim, was permitted by Michigan’s

medical marijuana law. Amended Complaint ¶ 60. The Peffers were arrested and charged with

delivery, manufacture of a controlled substance, and maintaining a drug house. The Peffers

negotiated a plea agreement and pled guilty to comparatively minor offenses.

       Relying upon their First Amendment rights, the Peffers claim that the Defendants retaliated

against the Peffers because the Peffers had negotiated the favorable (to them) plea agreement. The

Peffers claim that the Defendants became so angry that, in retaliation, they filed two “false”

affidavits with the Register of Deeds claiming an interest in two parcels of real estate owned by

the Peffers. The Defendants pled qualified immunity.
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       The Supreme Court established a framework for evaluating First Amendment retaliation

claims in Mount Healthy City School District Board of Education v. Doyle, 429 U.S. 273, 97 S.

Ct. 568 (1977), which the Sixth Circuit has summarized, to require a plaintiff to show

       that (1) the plaintiff was participating in a constitutionally protected activity; (2)
       the defendant's action injured the plaintiff in a way likely to deter a person of
       ordinary firmness from further participation in that activity; and (3) the adverse
       action was motivated at least in part by the plaintiff’s protected conduct.

Ctr. for Bio-Ethical Reform, Inc. v. Napolitano, 648 F.3d 365, 371 (6th Cir. 2011). The alleged

adverse action must have been proximately caused by an individual defendant, and that defendant

must have been “motivated in substantial part by a desire to punish an individual for exercise of a

constitutional right.” Bright v. Gallia Cnty, 753 F.3d 639, 653 (6th Cir. 2014) (quoting King v.

Zamiara, 680 F.3d 686, 695 (6th Cir. 2012)).

       The protected activity in which the Peffers allegedly engaged is negotiating the favorable

plea agreement. The Peffers claim that the Defendants, who did not like the deal, retaliated. The

Peffers claim that they have a constitutional right to challenge criminal drug dealing allegations

against them and to negotiate a plea deal. Each Defendant has moved to dismiss the federal claims

for failure to state a claim. The Peffers have moved to amend their complaint by adding more

allegations but, in this Court’s judgment, such amendments would be futile. Therefore, the

motions to dismiss will be granted.

       Fairly recently, the Supreme Court has substantially tightened the requirements for

avoiding the affirmative defense of “qualified immunity,” in a 42 U.S.C. § 1983 claim. “[A]

plaintiff must identify a case with a similar fact pattern that would have given ‘fair and clear

warning to officers’ about what the law requires.” Arrington-Bey v. City of Bedford Heights, 858

F.3d 988, 993 (6th Cir. 2017) (quoting White, 137 S. Ct. at 551). In Arrington-Bey, the court noted

that the Supreme Court has “reminded us” that existing precedent must clearly establish the

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unlawfulness of the particular conduct, and a high level of generality will not do. Id. at 992–93.

This Court is particularly cognizant of these exacting standards. In a fairly recent case involving

the issue of whether police participation in a private individual’s seizure of a vehicle constituted

state action, this Court held that the defendant officers were not entitled to qualified immunity

because the Sixth Circuit’s prior case law clearly established that the officers’ conduct was

unlawful. On appeal, a unanimous Sixth Circuit panel affirmed. Middaugh v. City of Three Rivers,

629 F. App’x 710 (6th Cir. 2015). Subsequently, the Supreme Court vacated the judgment and

remanded to the Sixth Circuit for further consideration in light of Mullenix v. Luna, __ U.S. __,

136 S. Ct. 305 (2015) (per curiam). Piper v. Middaugh, 136 S. Ct. 2408 (2016). On remand, the

Sixth Circuit panel concluded that the law was not clearly established because there was “sufficient

daylight between the Officers’ conduct . . . and the conduct in [the prior Sixth Circuit cases]” such

that they did not “‘apply with obvious clarity to [this] specific conduct.’” Middaugh v. City of

Three Rivers, 684 F. App’x 522, 530 (6th Cir. 2017) (quoting Hope v. Pelzer, 536 U.S. 730, 741,

122 S. Ct. 2508, 2516 (2002) (alteration in original)).

       The Peffers assert that the clearly established right that Defendants violated was the

“constitutionally protected right to access the courts, partially grounded in the First Amendment’s

protection of the right to ‘petition the Government for a redress of grievances.’” (ECF No. 20 at

PageID.177 (citing U.S. Const. Amend. I; Berryman v. Rieger, 150 F.3d 561, 567 (6th Cir. 1998);

John L. v. Adams, 969 F.2d 228, 231–32 (6th Cir. 1992)).)

       Under the facts alleged in the instant case, the Peffers would first have to establish that they

had a First Amendment right to negotiate a plea agreement. Mount Healthy City School District

Board of Education v. Doyle, 429 U.S. 273, 97 S. Ct. 568 (1977); Ctr. for Bio-Ethical Reform, Inc.

v. Napolitano, 648 F.3d 365, 371 (6th Cir. 2011). Plaintiffs, however, have cited no case even



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close to the point that a person has a constitutional right to engage in plea negotiations. The Bill

of Rights describes protections to citizens suspected of, charged with, and convicted of a crime.

Neither the First Amendment nor any other Amendment grants a right to engage in plea

negotiations.

          The Peffers claim that Defendants are liable for false light invasion of privacy under

Michigan law. The Peffers specifically allege that Defendants filed two false affidavits claiming

an interest in two parcels of real property and, that by filing these affidavits with the Osceola

County Register of Deeds, Defendants committed the tort of “false light invasion of privacy.” A

false light invasion of privacy requires that defendants “broadcast to the public in general, or to a

large number of people, information that was unreasonable and highly objectionable by attributing

to the plaintiff characteristics, conduct, or beliefs that were false and placed the plaintiff in a false

position.” Derderian v. Genesys Health Care Sys., 263 Mich. App. 364, 385, 689 N.W.2d 145,

159 (2004) (quoting Duran v. Detroit News, 200 Mich. App. 622, 631–32, 504 N.W.2d 715, 721

(1993)). Defendants also “must have had knowledge of or acted in reckless disregard as to the

falsity of the publicized matter and the false light in which [the plaintiff] would be placed.” Early

Detection Ctr., P.C. v. New York Life Ins. Co., 157 Mich. App. 618, 630, 403 N.W.2d 830, 835

(1986).

          The Peffers fail to allege, either in their Complaint and in their proposed First Amended

Complaint, a sufficient factual or legal basis to successfully state a false light invasion claim. For

example, the Peffers offer no legal basis for their allegation that the affidavits being subject to the

Michigan Freedom of Information Act satisfies the “broadcast” element; neither do the Peffers

offer support for their assertion that the affidavits being recorded with the Register of Deeds

satisfies the “broadcast” element beyond the fact that the affidavits would be available to the



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public.     The Peffers offer no rational basis for demonstrating that the affidavits included

“unreasonable or highly objectionable” information.           The Peffers also fail to address how

Defendants acted in reckless disregard or knew the affidavits were false. Accordingly, the Peffers

have failed to state a plausible claim of false light invasion of privacy.

          Defendants also argue that they are immune from tort liability under the Michigan

governmental immunity statute. M.C.L. § 691.1407(2)(c) grants immunity for officers and

employees unless their conduct amounts to gross negligence that is “the one most immediate,

efficient, and direct cause preceding an injury,” id.; Robinson v. City of Detroit, 462 Mich. 439,

458–59, 613 N.W.2d 307, 317 (2000), or if they commit an intentional tort without good faith or

with malice. M.C.L. § 691.1407; Odom v. Wayne Cnty., 482 Mich. 459, 479–80, 760 N.W.2d 217,

228 (2008). In order to be immune from liability, an employee must act in the course of his or her

employment; act, or reasonably believe to be acting, within the scope of his or her authority; and

commit a discretionary act, rather than a ministerial act. Odom, 482 Mich. at 473–76, 760 N.W.2d

at 224–26.

          The Peffers agree that Defendants were not acting within the scope of their employment or

authority. The Peffers’ only basis to argue that Defendants did not act in good faith is that the

statute of limitations as to filing liens had passed, but they do not cite supporting case law or factual

support regarding lack of good faith. The Peffers also failed to show that the Defendants

committed ministerial acts in preparing and filing the affidavits.

          Defendants are entitled to governmental immunity.

          The Peffers filed a motion for leave to file a First Amended Complaint to include additional

allegations, as well as two additional claims under Michigan law for encumbering property without

lawful cause. Federal Rule of Civil Procedure 15(a)(2) requires a court to “freely give leave when



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justice so requires.” If the proposed amendment would be futile, then leave should not be granted,

e.g., “when the proposed amendment would not permit the complaint to survive a motion to

dismiss.” Miller v. Calhoun Cnty., 408 F.3d 803, 817 (6th Cir. 2005).

       The Peffers’ proposed amendments to their First Amendment claims are futile because they

cannot establish that they engaged in a “protected activity.” Nor do they establish that Defendants

preparing and filing the affidavits were motivated in response to purported protected activity. The

Peffers also fail to overcome Defendants’ qualified immunity because they fail to allege a

cognizable First Amendment claim and fail to allege a violation of a clearly established right.

       Similarly, the Peffers’ proposed amendments to their false light claims do not cure the

defects. For instance, the Peffers failed to sufficiently allege that the affidavits were broadcast to

the public, that the information was unreasonable or highly objectionable, or that Defendants acted

in reckless disregard or with knowledge of the alleged falsity of the affidavits. Nor do the Peffers

allege facts that could overcome the Defendants’ entitlement to governmental immunity. The facts

demonstrate that Defendants acted within the scope of their employment, within the scope of their

authority, and that their actions were discretionary.

       The Peffers seek to bring two new state-law claims of encumbering property without lawful

cause. M.C.L. § 600.2907a. Under Michigan law, this cause of action requires that a defendant

act with malice when filing an invalid lien. Fed. Nat’l Mortg. Ass’n v. Lagoons Forest Condo.

Ass’n, 305 Mich. App. 258, 270, 852 N.W.2d 217, 223 (2014). The Peffers must show “some act

of express malice by [Defendants], which implies a desire or intention to injure.” Id. (internal

quotation marks and citation omitted). The Peffers do not do so in their proposed Amended

Complaint. Instead, the Peffers offer factual inferences and fail to present sufficient facts to make




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an inference that Defendants acted maliciously. Therefore, their proposed Amended Complaint is

futile. 1

            The Peffers’ motion for leave to file a First Amended Complaint (ECF No. 21) will be

denied, Defendant King’s motion to dismiss (ECF No. 8) will be granted, and Defendants

Thompson and Kopach’s motion to dismiss (ECF No. 10) will be granted.

            A separate order will issue.



Dated: January 24, 2018                                                /s/ Gordon J. Quist
                                                                      GORDON J. QUIST
                                                                UNITED STATES DISTRICT JUDGE




1
  With the dismissal of the First Amendment claims and the false light claims, the Peffers may also run afoul of the
jurisdictional amount in controversy requirement if the proposed third set of claims were to survive because the
claims are based on state law. 28 U.S.C. § 1332.

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